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Our corporate governance

Ethics and governance

 

Our ethics and compliance principles are deeply embedded within our corporate
culture and form the basis for a suite of policies, codes and guidelines tnat guide and

inform our employees as they implement the company’s business strategu.

These same components shape our compliance programs which serve as the benchmark
against which we measure our performance and that of our partners — contractors,
consultants, suppliers, affiliates and joint ventures within the Kingdom of Saudi Arabia and

abroad.

Compliance Program

Our Corporate Compliance department is responsible for the further development, support,
and monitoring of the compliance program, and for following external legal and regulatory

developments.

Code of Business Conduct

Our behavior is what defines us — as a company, as employees, as people. Everything we do is
anchored by our Values: integrity, excellence, safety, accountability, and citizenship. Our Values
are the foundation of Our Code of Business Conduct and the way we do business. When

faced with any decision, we consider how each option aligns with these values.

 

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have made to each other, our Company, our stakeholders, and ourselves. View the full Code of

Conduct (PDF, 582KB).

Conflict of Interest and Business Ethics Policies

Employees review our Conflict of Interest and Business Ethics Policies regularly. This ensures
our ethics policies are continuously reinforced for use in real-life applications. Any ethics
concerns from our employees or third parties can be clarified through our established

communication and reporting channels.

Hotline

Our ethics and compliance hotline is available to provide a secure and confidential venue for
people inside and outside the company to report suspected fraud, unethical conduct, or

irregularities. We hold employees to a high level of ethical conduct and expect the same of our

suppliers.

Supplier Code of Conduct

Our Supplier Code of Conduct outlines mandatory policies on environmental, health and
satety issues, fair trade practices, ethical sourcing, conflicts of interest, bribery, kickbacks, gifts
and fraud, monitoring and compliance. Saudi Aramco’s Supplier Code of Conduct promotes

our values and extends and maintains our ethical standards across our supplier network,

enabling long-term, mutually beneficial partnerships.

 

  

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Our behavior is what defines us — as a company, as employees, as people. Everything

we do is anchored by our corporate values: citizenship, safety, accountability,
excellence and integrity. By living our values and sound business practices, we
consistently achieve high levels of performance and efficiency — delivering value not
only for our company, but for our customers, partners and the communities in which

we operate.

Excellence

At Saudi Aramco, excellence translates into all aspects of our workplace. it is our personal and
group commitment to doing what we do well. We drive for best results and are agile in

addressing new challenges.

As a business, we drive excellence by setting challenging goals, rewarding top performance,
committing ourselves to developing our people, encouraging innovation, creativity and

diversity of thought, and fostering teamwork and open communication.
Safety

Safety is an integral part of Saudi Aramco’s culture. We are committed to providing a safe and
respectful working environment for all with the appropriate safety procedures and policies in

place onsite and within the community.

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We define safety as protecting ourselves, protecting others and protecting our future.
Integrity

The integrity of business at Saudi Aramco is based on the ethical standards of our employees
in our everyday operations. Integrity is a precious asset, it is our reputation and the foundation

of corporate integrity is personal integrity.

We treat people with fairness and respect, we embrace diversity and accept differences and

we do not tolerate misconduct.
Citizenship

No matter where in the world we are conducting business, it is important to be known as a
good corporate citizen and to be a positive influence within communities. As a global

company in Saudi Arabia, we take this role seriously.

We define citizenship as acting as a catalyst for economic growth, demonstrating social
responsibility, supporting our communities and serving as role models in building solid

relationships with our customers and partners.
Accountability

Accountability means all employees at Saudi Aramco take responsibility for their actions in
meeting corporate objectives. Accountability for achieving the company's overarching business
objectives starts with the goals and objectives outlined by the president & CEO for the

company’s business lines, and pervades through the entire company.

Our employees place authority where responsibility lies, deliver on commitments and seek and

provide constructive feedback.

 

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Sustainable business operations

At Saudi Aramco, sustainability is an ethos that permeates all aspects of our company. spurs us to push the limits
of creativity and technology to develop and implement meaningful solutions to global eneray and climate
challenges.

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Making a difference

People and community

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